              Case 19-10976               Doc 1         Filed 09/04/19 Entered 09/04/19 15:20:38                              Desc Main
                                                          Document     Page 1 of 46
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

           Middle District Of Georgia
 ______ ______________
                                       (State)

                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                         Thrush Aircraft Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              9 ___
                                           ___ 0 – ___
                                                    0 ___
                                                       0 ___
                                                          9 ___
                                                             1 ___
                                                                8 ___
                                                                   3 ___
                                                                      0
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           300 Old Pretoria Road
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                           Albany                    GA 31721
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           DOUGHERTY
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                Case 19-10976           Doc 1         Filed 09/04/19 Entered 09/04/19 15:20:38                              Desc Main
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Debtor          Thrush Aircraft Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         X None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             3 ___
                                            ___ 3 ___
                                                   6 ___
                                                      4

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         X Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         X No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           
                                         X No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
              Case 19-10976           Doc 1         Filed 09/04/19 Entered 09/04/19 15:20:38                               Desc Main
                                                      Document     Page 3 of 46
Debtor        Thrush Aircraft Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       X No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                       
                                       X 200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                                                         $1,000,000,001-$10 billion
                                                                        X $10,000,001-$50 million
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor         Thrush  Aircraft Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                  
                                                                            X $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on 08/30/2019
                                                        _________________
                                                        MM / DD / YYYY


                                        /s/K. Payne Hughes, Sr.
                                            _____________________________________________              K. Payne Hughes, Sr.
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                            Title President
                                                  _________________________________________




18.   Signature of attorney
                                        /s//s/ A. Keith Logue
                                            _____________________________________________              Date         08/30/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY

                                             GA
                                            A. Keith Logue
                                            _________________________________________________________________________________________________
                                            Printed name

                                            Logue  Law, PC
                                            _________________________________________________________________________________________________
                                            Firm name

                                            3423 Weymouth Court
                                            _________________________________________________________________________________________________
                                            Number     Street

                                            Marietta
                                            ____________________________________________________           GA
                                                                                                           ____________ 30062
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            (770) 321-5750
                                            ____________________________________                           Keith@logue-law.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            456250
                                            ______________________________________________________ GA
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                              THRUSH AIRCRAFT, INC.
                          RESOLUTION OF THE DIRECTORS

    The undersigned, being the sole director of Thrush Aircraft, Inc., a Georgia business

corporation ("Company"), does hereby waive notice of the date, time, place and purpose of,

and any rights to receive any material otherwise required to be furnished in a notice of, a

meeting at which the actions herein taken would have been submitted to the board, and do

hereby consent to the adoption of, and do hereby adopt, the following resolutions:

        WHEREAS, the Company is unable to pay its debts as they generally mature and it
is in the best interest of the Company and its shareholders for the Company to file for
protection under the bankruptcy laws, as advised by legal counsel and the Company's
financial advisors;

       NOW, THEREFORE, BE IT RESOLVED, that the Officers of the Company be and
hereby are authorized and directed to execute and deliver on behalf of the Company any
and all documents in the form and in substance as advised by counsel, pursuant to which
the Company will seek protection as provided in Title 11, United States Code, chapter 11 as
advised by counsel, with such actions and undertakings as the officer executing any
documentation shall, with the assistance of counsel, authorize and approve, such
authorization and approval to be conclusively evidenced by the execution and delivery
thereof in final form; and

        FURTHER, RESOLVED, that the Officers of the Company are severally authorized,
from time to time, on behalf of and in the name of the Company, to take or authorize the
taking of any and all actions and to execute and deliver all agreements, instruments and
other documents, and to make all payments, as may be necessary, proper or convenient in
order to carry out, effectuate, consummate and perform the transactions described herein,
with such changes, amendments and modifications, if any, as the officer executing the same
shall, with the assistance of counsel, authorize and approve, such authorization and
approval to be conclusively evidenced by the execution and delivery of such agreements,
instruments and documents in final form; and

        FURTHER, RESOLVED, that any of the Officers of the Company be and they
hereby are authorized to retain counsel Logue Law, PC and Stone and Baxter, LLC for the
Company in said proceeding, and other professionals as counsel and Company determines
to be in the best interest of the Company.

       FURTHER, RESOLVED, that the secretary or any assistant secretary of the
Company is hereby authorized to certify true copies of the foregoing resolutions and each of
the agreements, instruments and other documents hereby approved, as well as any other
documents and papers which may from time to time be necessary or appropriate to be
delivered in connection with the transactions contemplated hereby, and to attest signatures
of any officer of the Company executing and delivering the same.
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        IN WITNESS WHEREOF, the undersigned have caused this consent to be executed
as of the 9th day of August, 2019.
               Case 19-10976                Doc 1         Filed 09/04/19 Entered 09/04/19 15:20:38                              Desc Main
                                                            Document     Page 7 of 46
    Fill in this information to identify the case:

                Thrush Aircraft Inc.
    Debtor name _________________________________________________________________

                                                    Middle District Of Georgia
    United States Bankruptcy Court for the: ______________________________________
                                                                                                                                         Check if this is an
    Case number (If known):     _______________________                                           ___________________________________________
                                                                                                                                            amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                    12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


    Name of creditor and complete             Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
    mailing address, including zip code       email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
    GE Aircraft Engines                                                     Trade Payable                                                              $5,258,854.81
1
    Beranovuvh 65
    Czech Republic,

    Pratt & Whitney ACC                                                     Trade Payable                                                              $4,016,258.51
2
    1000 Marie Victorin Blvd.
    Longueuil, J4G IA1

    AB&T                                                                    trade payable                                                              $736,325.75
3
    2815 Meredyth Drive
    P.O. Box 31708
    Albany, GA 31708
    Trumpf Finance                                                          trade payable                                                              $576,956.10
4
    480 Washington Blvd
    24th Floor
    Jersey City, NJ 07310
    Georgia Dept of Labor                                                   Trade Payable                                                              $387,500.00
5
    148 Andrew Young International Blvd.,
    NE
    Atlanta, GA 30303-1751
    GRANT THORNTON LLP                                                      Trade Payable                                                              $377,881.89
6
    33562 Treasury Center
    Chicago, IL 60694-3500

    TRANSLAND-TEXAS,LLC.                                                    Trade Payables                                                             $304,300.84
7
    1206 HATTON RD SUITE A
    Wichita Falls, TX 76302

    IPFS Corporation                                                        trade payable                                                              $280,443.88
8
    P.O. Box 100391
    Pasadena, CA 91189




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
               Case 19-10976               Doc 1      Filed 09/04/19 Entered 09/04/19 15:20:38                                Desc Main
                                                        Document     Page 8 of 46

Debtor         Thrush  Aircraft Inc.
               ______________________________________________________                      Case number (if known)____________________________________
               Name




     Name of creditor and complete          Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

     Winthrop Resources Corp                                              trade payable                                                              $250,423.50
9
     P.O. Box 55343-0650
     Hopkins, MN 55343-0650

     HARTZELL PROPELLER IT                                                Trade Payables                                                             $225,016.31
10
     ONE PROPELLER PLACE
     Piqua, OH 45356

     LEAF Capital Funding, LLC                                            trade payable                                                              $205,566.87
11
     2005 Market Street
     14th Floor
     Philadelphia, PA 19103
     EMERGYS                                                              Trade Payables                                                             $169,570.93
12
     801 E. Campbell Road STE 690
     Richardson, TX 75081

     Wells Fargo Equipment Financing                                      trade payable                                                              $168,274.63
13
     P.O. Box 55485-8178
     Minneapolis, MN 55485-8178

     TURBINE CONVERSIONS                                                  Trade Payables                                                             $106,304.00
14
     18155 120TH AVE.
     Nunica, MI 49448

     Aviall                                                               Trade Payables                                                             $97,896.76
15
     PO BOX 842267
     Dallas, TX 75284

     ACR MACHINE, INC.                                                    Trade Payable                                                              $94,984.82
16
     21 N. 10TH AVE.
     Coatesville, PA 19320

     OXFORD GLOBAL RESOURCES                                              Trade Payables                                                             $89,639.63
17
     PO BOX 3256
     Boston, MA 02241

     AG NAV INC.                                                          Trade Payable                                                              $87,031.00
18
     30 CHURCHILL DRIVE
     Ontario, L4N 8Z5

     KPIT                                                                 Trade Payable                                                              $77,186.67
19
     PO BOX 398227
     San Francisco, CA 94139

     TRAVELERS                                                            Trade Payables                                                             $58,143.74
20
     CL REMITTANCE CENTER
     P.O. Box 660317
     Dallas, TX 75266




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 2
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                                                          Document     Page 9 of 46
 Fill in this information to identify the case and this filing:


 Debtor Name Thrush  Aircraft Inc.
             __________________________________________________________________

                                                 Middle District Of Georgia
 United States Bankruptcy Court for the: ______________________________________

 Case number (If known):    _________________________                                                 ___________________________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             A Summary of Assets and Liabilities for Non-Individuals (Official Form 206–Summary)

             Amended Schedule ________


         
         X    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                               Verification of Creditor Matrix
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/30/2019
        Executed on ______________                         /s/K. Payne Hughes, Sr.
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                K. Payne Hughes, Sr.
                                                                ________________________________________________________________________
                                                                Printed name


                                                                President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form B202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 19-10976            Doc 1
                         Filed 09/04/19 Entered 09/04/19 15:20:38                                                   Desc Main
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UNITED STATES BANKRUPTCY COURT
 MIDDLE DISTRICT OF GEORGIA
________________________________________________________________________________________________________
In Re:                                                                   Case No.
         Thrush Aircraft Inc.


                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER
                 Thrush Aircraft Inc.
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

   If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

  X If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


Dated: September 3, 2019
       _____________________________

        /s/ K. Payne Hughes, Sr.
Signed: _______________________________________                              ______________________________________________
                      (Applicant)                                                           (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.

       September 3, 2019
Dated: ______________________                              Attorney for Debtor(s) /s/ A. Keith Logue
                                                                                  _________________________________________
                                                                                   A. Keith Logue
                                                                                   _________________________________________
                                                           Address of Attorney     3423 Weymouth Court
                                                                                   _________________________________________
                                                                                   Marietta, Georgia 30062
                                                                                   _________________________________________
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                            UNITED STATES BANKRUPTCY COURT
                                  Middle District of Georgia


In re:
Dothins                                             Dothins




                                                    Case No.   Dothins




Thrush Aircraft Inc.,
Dothins




Debtor(s)
Dothins
                                                    Chapter 11 Case
                                                    Dothins




              STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION


       I, K. Payne Hughes, Sr., declare under penalty of perjury that I am the President of
Thrush Aircraft Inc., a Georgia corporation and that on August 9, 2019 the following resolution
was duly adopted by the Sole Director and Shareholder of this corporation:

       \Whereas, it is in the best interest of this corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that K. Payne Hughes, Sr., President of this corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a
chapter 11 voluntary bankruptcy case on behalf of the corporation; and

        Be It Further Resolved, that K. Payne Hughes, Sr., President of this corporation, is
authorized and directed to appear in all bankruptcy proceedings on behalf of the corporation, and
to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case; and

       Be It Further Resolved, that K. Payne Hughes, Sr., President of this corporation, is
authorized and directed to employ A. Keith Logue, attorney and the law firm of Logue Law, PC to
represent the corporation in such bankruptcy case.\


Executed on: August 30, 2019
Dothins
                                                    Signed: /s/ K. Payne Hughes, Sr.   Dothins




Dothins
                                                    K. Payne Hughes, Sr. (Name and Address of
                                                    Subscriber)
                                                    Dothins
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                                WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to provide with a petition and thereafter during a case under title 11
(“Bankruptcy”) of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.
               Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.
              Information that you provide during your case may be audited pursuant to title 11. Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.


  Date September 3, 2019                                  /s/ K. Payne Hughes, Sr.
                                                          Thrush Aircraft Inc.
                                                          Debtor




                                                          Joint Debtor


                                                          /s/ A. Keith Logue
                                                          A. Keith Logue
                                                          Attorney for Debtor(s)
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                                                 UNITED STATES BANKRUPTCY COURT
                                                            Middle District of Georgia


In re:                                                                                               Case No.
         Thrush Aircraft Inc.
                                              Debtors
                                                                                                     Chapter    11


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     August 30, 2019                                           Signed:   /s/ K. Payne Hughes, Sr.




         Dated:                                                               Signed:
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Assistant U.S. Trustee
Middle District of Georgia
440 Martin Luther King Jr., Blvd., Suite 302
Macon, GA 31201

A.E.R.O. Hose Shop
3701 Hwy 162
Granite City IL 62040

AB&T National Bank
PO Box 71269
Albany GA 31708

ACR Machine Inc.
21 N. 10th Ave.
Coatesville PA 19320-3382

Advanced Disposal
1515 Pecan Lane
Albany GA 31705

Aero Fasteners
76 Servistar Idustrail Way
Westfield MA 01086-0507

Aerofast Inc.
360 Gundersen Drive
Carol Stream IL 60188

Aeronautical Testing Service Inc
18820 59th Dr. NE
Arlington WA 98223

Aerospace Defense Coating
7700 NE Industrial Blvd
Macon GA 31216

AFLAC
1932 Wynnton Road
Columbus GA 31999-0797

AG Nav Inc.
30 Churchill Drive
Barrie, Ontario L4N 8Z5
CANADA
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AgAir Update
475 Myrtle Field Rd.
PO Box 850
Perry, GA 31069

Agricenter Aviação Agrícola Ltda.
R Antonio Joao, 610, B
Ponta Pora - MS
79900-000

Aircraft Rubber Manufacturing Inc.
1550 NE Kingwood Ave
Redmond OR 97756

Albany Elevator
PO Box 1073
Albany GA 31702

Albany Industrial Supply
419 Hodges Ave
Albany GA 31708

Albany Lock & Safe Co.
702 N. Slappey Blvd
Albany GA 31701

Albany Rubber & Gasket
2238 Toledo Drive
Albany GA 31705

Albany Utilities
207 Pine Ave
Albany GA 31702-1788

Alfred Holton
245 Pine Street
Pelham GA 31779

Alpine Bearing Co
PO Box 331
Allston, MA 02134

Alvina Davis
149 Briar Patch Circle
Americus GA 31709
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Amador Sanchez
151 Stags Leap
Leesburg GA 31763

American Contract Group Inc
300 Wildwood Avenue
Woburn MA 01801

AMJ Leasing LLC
PO Box 41602
Philadelphia PA 19101-1602

Amy Reno
2406 N Hilltop Drive
Albany GA 31707

Andair Ltd.
1 Fulflood Rd
Havant PO9 5AX, UK

Angela Bradshaw
PO Box 252
Leary GA 39862

Applied Technical Service
1049 Triad Court
Marietta GA 30062

Aprio LLP
5 Concourse Pkwy #1000
Atlanta GA 30328

Arrin Ferguson
172 Groover St
Leesburg GA 31763

Arrow Laboratory Inc.
1333 N. Main St
Wichita KS 67203

Ashley's Office World
PO Box 26
Tifton GA 31793
           Case 19-10976     Doc 1   Filed 09/04/19 Entered 09/04/19 15:20:38   Desc Main
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ASI Jet Sales, LLC
1710 Butler Field Drive SW
Hutchinson MN 55350

Astronics Max-Viz
Dept. Ch 16963
Palatine IL 60055-6963

Auto-Owners Insurance
PO Box 30660
Lansing MI 48909-8160

Autumn Alexander
183 Miller St
Baconton GA 31716

Aviall
PO Box 842267
Dallas TX 75284-2267

Aviation Interiors Inc.
2217 Meadowpond Trail
White Hall AR 71602

Avion Alloys
4722 NW Boca Raton Blvd
Boca Raton FL 33431

Azusa Pipe & Tube Bending
766 North Todd Ave
Azusa CA 91702

B & D Industrial, Inc.
PO Box 116733
Atlanta, GA 30368-6733

BANASPRAY S.A.
Calle 5ta 223
Guayaquil; Guayas - EC

Barbara Moulton
307 Martindale Drive
Albany GA 31721
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Barbara Russell
138 Pineview Dr
Leesburg GA 31763

Bates Gas Company
2703 Sylvester Road
Albany GA 31705

Belinda Heard
5200 Hill Road
Albany GA 31705

Ben Howard Jr
913 12th Ave S E
Moultrie GA 31768

Benefit Technology Resources Llc
Suite 507 301 W. Platt Street
Tampa FL 33606

Bernard Howard
P O Box 1362
Moultrie GA 31768

Bernard Ross
2324 Shady Rd
Baconton GA 31716

Beverly Patterson
605 Leila Way
Americus GA 31719

Blake Clanton
123 Querecho Ln
Albany GA 31707

Anthem BCBS
PO Box 4445
Atlanta GA 30302

Blue Supply Inc (Brooks Auto)
1407 Dawson Road
Albany GA 31701
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Bradford Court Condominium Assoc.
2421 Westgate Drive, Suite B
Albany GA 31707-8200

Brock Reed
1457 De Short Rd
Dawson GA 39842

Brodi Koehler
212 Robertson Dr
Leesburg GA 31763

Brown Aircraft Supply Inc
4123 Muncy Rd
Jacksonville FL 32207

Butler Bros.
PO Box 1375
Lewiston ME 04243-1375

Byrdie Johnson
615 W Lincoln
Albany GA 31701

California Agricultural
661 6th Street
Lincoln CA 95648

California Push Pull
3 Commerce Court, Suite 1
Chico CA 95928

Calima S.A.S.
Carrera 43B No 16-95 Oficina 1013
Medellin-Antioquia - CO

Calvin King
400 Elizabeth Ave
Albany GA 31705

Cascade Aircraft Conversions
903 Grinnell Road
Garfield WA 99130
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Castle Metals Aerospace
PO Box 403705
Atlanta GA 30384-3705

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Leslie GA 31764

Charles Hodges
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Albany GA 31705

Charles Russell
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Ablany GA 31707

Charles Williams
162 Hampton Ln
Leesburg GA 31763

Charlotte Bryant
737 Georgetown Drive
Albany GA 31705

Chelsea Harvey
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Albany GA 31705

Chem-Aqua
PO Box 15217
Irving TX 75015

Chesapeake Aerospace
11605 Princess Lane
Ellicott City MD 21042

Christian Knights
140 A Ravenwood Ct
Albany GA 31701

Christin Milner
556 Mac Road
Edison GA 39846
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Christopher Henry
156 Cypress Point Circle
Leesburg GA 31763

Christopher Pollock
163 Pineridge Dr
Leesburg GA 31763

Christopher Shawn Weathersby
795 Bay Street
Edison GA 39846

Christopher Thomas
724 Mobile Rd Lot 19
Albany GA 31705

Cincinnati Life Insurance
PO Box 631205
Cincinnati OH 45263-1205

Cindy Chapman
903 Douglas Cir
Americus GA 31709

Cintas Corporation #438
1700 West Town Road
Albany GA 31707

Citizens One Auto Finance
PO Box 42113
Providence RI 02940-2113

City of Albany
401 Pine Avenue
Albany GA 31701

Coastal Wipers
5705 E Hanna Ave
Tampa FL 33610

Colorado Plating Company
Hangar 44
9616 Metro Airport Ave
Broomfield CO 80021
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Compañía Aero Agrícola Integral
Km 7 Via Zungo Predio San Sebastian
Carepa-Antioquia - CO

Corbana S.A. CTA Congress
Apartado Postal 6504-1000
San Jose, Costa Rica

Cory Dixon
112 Aster Drive
Americus GA 31719

Covington Aircraft
PO Box 1336
Okmulgee OK 74447

Coyote Logistics LLC
255 Ottley Dr NE Suite 200
Atlanta GA 30324

Crystal Daniels
127 3rd Rd
Leesburg GA 31763

Culligan of South Georgia
414 N Jackson Street
Americus GA 31709

Dallas Logue
715 Sixth Avenue
Albany GA 31701

Damasia Wiggins
262 West First Street
Cuthbert GA 39840

Daniel Miller
273 Herring Road
Sylvester GA 31791

David I Peterson Inc
PO Box 3881
Albany GA 31706
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David Jackson
1009 8 Mile Rd
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Demetria Wiggins
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Cuthbert GA 39840

Dennis Sledge
245 Marchant Rd
Ty Ty GA 31795

Desser Tire & Rubber Co.
6900 Acco Street
Montebello, CA 90640

Devin Hatcher
716A Oakland Rd
Leesburg GA 31763

Dewey Terry Hornsby
4278 Hwy 262
Pelham GA 31779

DHL Express-USA
16592 Collections Center
Chicago IL 60693

Dilmar Oil Company
PO Box 5629
Florence SC 29502-5629

Dole Fresh Fruit Co.
1 Dole Drive
Westlake Village CA 91362
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Donald Pollard
909 1/2 Peacock Dr
Albany GA 31701

Donald Wilson
1005 Rood Street
Albany GA 31705

Dougherty Glass
219 Cedric St
Leesburg GA 31763

Dynanav Systems Inc.
11731 Baynes Rd
Pitt Meadows, BC V3Y 2B3
CANADA

Earnest J Johnson Jr
283 North Broad Street
Ellaville GA 31806

Earthlink Buisness
PO Box 1058
Birmingham AL 35246-1058

Edgardo Perez
127 Fair Oaks Ct
Leesburg GA 31763

Edward Evers
413 Tifton Eldorado Rd
Tifton GA 31794

Edward Smith
100 Jefferson St
Albany GA 31701

El Colono Agropecuario SA
5km al este Entrada a Guapiles
Jimenez, Limon - CR

Electro Enterprises Inc.
3601 North I-35
Oklahoma City OK 73111
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Emergys
801 E. Campbell Road, Ste 690
Richardson TX 75081

Eric Chase Holloway
148 Renee Lane
Sylvester GA 31791

Eric M Rojek
166 Quail Valley Drive
Leesburg GA 31763

Evelyn Richard
363 Cornwell Rd
Americus GA 31709

Farr Air Inc.
PO BOX 786
Weyburn SK S4H 2L1 CANADA

FedEx Freight
Dept CH
PO Box 10306
Palatine IL 60055-0306

FedEx
PO Box 660481
Dallas TX 75266-0481

Fernando Alvarado
1035 White Pond Rd
Leesburg GA 31763

First Stop Health LLC
PO Box 60681
Chicago IL 60601

Flight Grip
812 Jacquelyn Street
Milton-Freewater OR 97862

Freedom Metal Finishing Inc.
5095 113th Ave. N
Clearwater FL 33760
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FUMICAR S.A.
Av. Santiago Castillo
Guayaquil; Guayas - EC

Fumigacion Aerea Agrobuenafe
S/N Via Valencia
Quevedo-Los Rios - EC

GA Dept of Labor
16060 S. Slappey Blvd
Albany GA 31707

Garrett Register
162 Hampton Ln
Leesburg GA 31763

GDOL Safety Engineering
2 Martin Luther King Jr. Drive
West Tower. Suite 920
Atlanta GA 30334

GE Aircraft Engines
Beranových 65, 19900 Praha 18
Letňany, 199 00, CZECHIA

General Aviation Manufacturers
1400 K St. NW Suite 801
Washington DC 20005

Geo-Precision Solutions Inc.
Edificio Rocamar
20A Calle 42
Bell PANAMA

George Campbell
310 South Cleveland Street
Albany GA 31701

Georgia Tech Professional Education
Office of the Registrar
PO Box 93686
Atlanta GA 30377-0686
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Gervice Scott Milner
556 Mac Rd
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Gina Rowland
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Cordele GA 31015

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Gregory Hubbard
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Groupe Compagnie Fruitière
33 Boulevard Ferdinand de Lesseps
Marseille 13014 FRANCE

Gustavo Vigano Piccoli
Rod Br 163, Sn, Km 741
Sorriso, MT – BR
78890 000

Harold Lamar
306 Raintree Drive
Albany GA 31705

Hartzell Propeller Inc
One Propeller Place
Piqua OH 45356

Hill & Brooks Coffee And Tea
PO Box 6219
Mobile AL 36660

Hitek Inc.
9 Highpoint Rd
Valley Center KS 67147
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Holland & Hart LLP
Attn: Financial Services
555 17th St #3200
Denver CO 80202-3979

Hugh Kern Cunningham
539 N Westover Blvd
Albany GA 31707

Huron Robinson
408 Southerfield Rd
Americus GA 31719

Hutchinson Aerospace & Industy
4510 Vanowen Street
Burbank CA 91505-7710

International Design and Display
125 North Stevens Street
Thomasville GA 00003-1792

International Governor Services, LLC
7290 W. 118th Place
Broomfield CO 80020

IPFS Corporation
PO Box 100391
Pasadena CA 91189-0391

IPG Photonics Corporation
50 Old Webster Road
Oxford MA 01540

Island Veterinary Clinic Ltd.
6212 54th Avenue
Taber AB T1G 1X3 CANADA

Ivy Cleveland
2030 West Broad Ave
Albany GA 31707

Jack Knight
170 Dunn Rd
Sylvester GA 31791
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Jaiba Aviacao Agricola Ltda
Av Transbrasiliana 827, 2 Andar
Paraiso do Tocantins TO – BR
77600-000

James Carter Hudson
284 Linden Rd Lot 13
Leesburg GA 31763

James Davis
1692 Philema Road
Albany GA 31701

James E Rusk
2405 Hermitage Rd
Albany GA 31721

James Jordan
1008 N Davis St
Albany GA 31701

James Kendrick
246 Willow Road
Edison GA 39846

James Mosley
1410 Pecan St S
Cordele GA 31015

James Owens
476 Lane Store Road
Americus GA 31709

James Perry
203 Habitat Street
Americus GA 31709

James Sailor
412 31st Ave S E Apt D
Moultrie GA 31768

James Sheffield
249 Sportsman Club Road
Leesburg GA 31763
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Jarret Tuning
723 Levertt St
Doerun GA 31744

Jason Doellefeld
740 Middle Rd S
Leesburg GA 31763

Jason Furney
2502 Buckingham Court
Albany GA 31707

Jason Williams
307 Southwood Dr
Albany GA 31701

Jennifer Dunbar
121 Lee Drive
Leesburg GA 31763

Jeremi Fuller
109 Foster Street
Desoto GA 31743

Jermaine Jones
1514 Mcarthur St
Albany GA 31701

Jimmy Bradshaw
188 A Pelham Dr
Leesburg GA 31763

John Andrew White
110 Victorian Ct
Leesburg GA 31763

John Lassen
313 B Old Pretoria Rd
Albany GA 31721

John Miller Jr
3803 W Dominion Ct
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John Morman
P O Box 73
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Johnny Leveston
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Johnny Mosely
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Jones Welding
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Albany GA 31708

Juan Phillips Jr
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Miami FL 33196

Juan Phillips
14133 SW 149 Avenue
Miami FL 33196

K & N Eng Inc
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Riverside CA 92502

Kelsey Johnson
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Albany GA 31070

Kenneth Gum
2204 Devon Drive
Albany GA 31707
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Kenneth Payne Hughes Jr
889 Oakland Rd
Leesburg GA 31763

Kenneth Payne Hughes
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Kenneth Sellers
177 Story Lane
Leesburg GA 31763

Kevin Gosier
11301 Dickey St
Morgan GA 39866

Kevin Paul
142 Canvasback Drive
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Kevin Pierce
710 Hobson Leverett Avenue
Doerun GA 31744

Keyontae Keith
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118 Palmer Rd
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KPH Jr. Family Trust
889 Oakland Rd.
Leesburg GA 31763

KPIT
PO Box 398227
San Francisco CA 94139-8227

Lanier Engineering Inc.
1504 W. Third Avenue
Albany GA 31707
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LaRose & Bosco Ltd.
200 N. LaSalle Street Suite 2810
Chicago IL 60601

Latrobe Specialty Metals
PO Box 644181
Pittsburg PA 15264-4181

LEAF Capital Funding LLC
2005 Market Street 14th Floor
Philadelphia PA 19103

Levan Tabidze
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Marietta GA 30062

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Albany GA 31707

Livingston International
PO Box 5640, Terminal A
Toronto M5W 1P1

Lois English
1216 East First Ave
Albany GA 31705

Longwood Elastomers,Inc.
1901 Longwood Dr
Brenham TX 77833

LoPresti Aviation
210 Airport Drive East
Sebastian FL 32958

Lorie Brown
129 Pineview Dr
Leesburg GA 31763

Lorinza Henry
2313 Juniper Dr
Albany GA 31721
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Luiz Carlos Nava
Rua Horizontina, 446E – Pioneiro
Lucas do Rio Verde, MT – BR
78455-000

Luiz Catelan
Rua Juscelino Kubitschek SN
Luis Eduardo Magalhaes; BA - BR
47850-000

Makino Inc
7680 Inovation Way
Mason OH 45040

Maple Hill Landfill
106 Branch Road
Albany GA 31705

Marcelo Alberto Ellena
Ruta Nacional 7 Km. 597
Vicuna Mackenna; Cordoba - AR

Marcelo Leomar Kappes
Av Tancredo Neves
Luis Eduardo Magalhaes; BA – BR
47850-000

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Marcus Gilbert
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Arlington GA 39813-0615

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Mark Morgan
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Albany GA 31721

Mary Neal
3945 Highway 41N
Preston GA 31824
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Mass Mutual
PO Box 1583
Hartford CT 06144

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Leesburg GA 31763

Matthew Chambers
6109 Willow Rd
Albany GA 31705

Mattie Anderson
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Albany GA 31707

Maule Air Inc.
2099 Georgia Highway 133
Moultrie GA 31788

Mauro Camacho Sanches
Av Dr Lamartine Pinto De Avelar
Catalao; GO – BR
75705-220

McMaster-Carr Supply Co
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Chicago IL 60680-7690

Merry Acres Inn
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Michael Casper
15 Riding Lane
Savannah GA 31411

Michael Johnson
150 Manning Lane
Leesburg GA 31763

Michael Kimbrel
14261 College Road
Edison GA 39846
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Mid Continent Aircraft Corp
1601 Hwy 84 East
Hayti MO 63851

Milton Powell
7275 Bluff Road
Baconton GA 31716

Moody's Analytics Inc.
PO Box 116714
Atlanta GA 30368-0597

Morris Coupling/Dba Grand
1092 West Atlanta Street
Marietta GA 30060

Motta, Fernandes Rocha Advogados
Av. Pres. Juscelino Kubitschek, 1327 - 20th floor
04543-011 - Sao Paulo - SP, BRAZIL

Moultrie Manufacturing Co
1403 Hwy 133 South
Moultrie GA 31776-2948

Murphy & Read Spring MFG
617 West 6th Street
Palmyra NJ 08065

Navarro Castex Abogados
Viamonte 1145
C1053 ABW
Buenos Aires, ARGENTINA

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Carol Stream IL 60197-6813

Neopost
478 Wheelers Farms Rd
Milford CT 06461

Niles Mcquaig
162 Hampton Ln
Leesburg GA 31763
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North Star Aviation, Inc.
801 W. Airport Rd.
Ulysses KS 67880

Northern Air Spray Ltd.
Hangar 5, Peace River Regional Airport
Peace River AB T8S 1S1 CANADA

Old Dominion Freight Line
PO Box 198475
Atlanta GA 30384-8475

One Time Vendor
2970 Clairmont road
Atlanta GA 30329

Orsmond Aerial Spray (Pty) Ltd
Preekstoel Road
Bethlehem ZA 9701
SOUTH AFRICA

Oxford Global Resources
PO Box 3256
Boston MA 02241-3256

Patrick Times
4343 Ga Hwy 41 South
Buena Vista GA 31803

Paulina Tompea
625 11th Ave NW
Cairo GA 39828

Pellicano & Blankenship, LLC
1803 Gillionville Rd
Albany, GA 31707

Perry Brothers Aviation
125 US Hwy 280 West
Americus GA 31709

Phillips Corporation
8500 Triad Drive
Colfax NC 27235
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Phoebe Corporate Health
2410 Sylvester Road
Albany GA 31705

Pinson Valley Heat Treating Co.
6179 Sunrise Dr.
Pinson AL 35126

Pitney Bowes Global Financial
PO Box 371887
Pittsburgh PA 15250-7887

PKB Constanta+
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Moscow 119435 RU

Planificacion y Soluciones
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Quart de Poblet, Valencia – ES
46930

Prairie Dusters
PO Box 274
Birtle MB R0M 0C0 CANADA

Pratt & Whitney
1000 Boulevard Marie-Victorin
Longueuil, QC J4G 1A1 CANADA

Pratt & Whitney Component Solutions
4905 Stariha Drive
Muskegon MI 49441

Prince Service & Manufact
7539 Hawkinsville Road
Macon GA 31216

Principal Life Insurance Company
SBD Grand Island
PO Box 10372
Des Moines IA 50306-0372

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PO Box 1508
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Retirement Solutions Specialists
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Richie Griffin
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Rickey Holloway
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Ricky Williams
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RJ Jenkins
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Sabrina Moore
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1251 US Hwy 82 W
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Scales Systems and Automation
430 Woodcrest
Sylvester GA 31791

Sealed Air
26077 Network Place
Chicago IL 60673-1260

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Sheena Kendrick
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Edison GA 39846

Short & Paulk -Albany Sup
400 N. Cleveland St
Albany GA 31702

Siderval S.P.A.
1176 3rd Street
Beaver PA 15009

SimplexGrinnell
Dept. Ch 10320
Palatine IL 60055-0320

Snap-On Tools
178 Horsehoe Circle
Americus GA 31719

So Low Enviromental Department
10310 Spartan Drive
Cincinnati Ohio 45215

Southeast Airgas
489 Ross Clark Circle N.E
Dothan AL 36303

Sowega Chlorinator Co. Inc.
PO Box 31706-3006
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205 White Horse Drive
Leesburg GA 31763

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AJMR Port Complex KM. 20
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Wells Fargo Bank
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